Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 1 of 33




          Confidential Investment Memorandum

                    Presented exclusively by

                       160 Royal Palm LLC




                                                                   HIG_000002
                        Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 2 of 33


                                                                       EXECUTIVE SUMMARY
                                                                       Palm House Hotel Investment Memorandum


160 Royal Palm, LLC (160RP) is offering a select investor the opportunity to provide financing for the Palm
House Residences & Hotel located on the island of Palm Beach, Florida..

160RP is seeking $108,350,000 which will be used to retire the current 1st and 2nd mortgages on the property,
pay city fees, complete construction, furnish and equip the property, and open the hotel for business.

The residences at the Palm House will be sold as condo-hotel units and are expected to generate $235,000,000 in
sales. Residences will be placed in a hotel rental program and will be managed by an internationally acclaimed
luxury boutique hotel operator.

The Palm House Hotel operations are estimated to yield $6.2 million in EBITDA in Year 1, with a projected
$11.2 million EBITDA in Year 5. HVS recently prepared an appraisal of the hotel operations which indicated
that the projected stabilized operations may be valued at $83.2 million.

Floor plans of the Palm House, a five year proforma for hotel operations, and a discussion of the facilities being
built at Palm House are shown on the following pages.




                                                                                                         HIG_000003
Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 3 of 33




          PALM HOUSE HOTEL - PALM BEACH, FLORIDA
                       Use of Funds


  Payoff 1st Mortgage Loan & City Fine             $ 29,400,000

  Payoff 2nd Mortgage Loan                            36,500,000

  Construction Contractor                             15,881,000

  FF&E                                                 6,350,000

  OS&E                                                 2,415,000

  Oustanding Payables                                  2,604,000

  Interest Reserve                                     6,500,000

  Sponsor Administration                               2,200,000

  PreOpening Expenses - Hotel & Residential            3,000,000

  Public Relations and Marketing                       1,000,000

  Working Capital                                      2,500,000

  Total                                            $ 108,350,000

                                                                   HIG_000004
                  Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 4 of 33




                                        October 3, 2014


                                        Mr. Chris Correa
                                        Credit Manager
                                        Professional Bank
                                        396 Alhambra Circle
HVS MIAMI
                                        Coral Gables, Florida 33134
8925 SW 148th Street, Suite 216
Miami, Florida, 33176                                   Re:    The Palm House, a condominium-hotel
+1 (305) 378-0404
                                                               Palm Beach, Florida
+1 (305) 378-4484 FAX
www.hvs.com
                                                               HVS Reference: 2014 06 0109

Atlanta                                 Dear Mr. Correa:
Boston
Boulder                                 Pursuant to your request, we herewith submit our appraisal report pertaining to
Chicago                                 the above-captioned condominium-hotel, which is currently undergoing a
Dallas                                  complete renovation in order to be repositioned as an ultra-luxury resort. We have
Denver
                                        inspected the real estate and analyzed the competitive market conditions for
Houston
Las Vegas
                                        luxury and ultra-luxury hotels and resorts within the Miami-Dade, Broward, and
Los Angeles
                                        Palm Beach counties. Our report was prepared in accordance with, and is subject
Mexico City                             to, the requirements of the Financial Institutions Reform, Recovery, and
Miami                                   Enforcement Act (FIRREA) and the Uniform Standards of Professional Appraisal
Minneapolis                             Practice (USPAP), as provided by the Appraisal Foundation.
New Orleans
New York                                Based on our analysis, it is our opinion that the prospective market values of the
Newport                                 developer’s position in The Palm House condominium-hotel as of the assumed
Philadelphia
                                        date of completion and assumed 100.0% sell-out, May 1, 2015, will be as follows:
San Francisco
St. Louis                                                                                   May 1, 2015
Toronto                                            Property Value Component Represented   'As Complete'   Allocation
Vancouver
                                                   Real Property                           $39,217,500       52.5%
Washington
                                                   Personal Property                        35,482,500       47.5%
Athens
Bahamas                                            Totals                                  $74,700,000      100.0%
Bangkok
Beijing
                                        The real property allocation presented above represents the value that has been
Buenos Aires                            attributed to the ‘commercial units’ within the property, as defined by the Master
Dubai                                   Declaration of Covenants, Restrictions, and Easements for The Palm House, which
Guangzhou                               is currently in draft form and presented within the addenda of this report. In this
Hong Kong                               particular draft, ‘Commercial Unit’ is defined as those units that are used for
Jakarta                                 commercial purposes and which are designated by Declarant or Hotel Unit Owner
London
                                        with a “C” for Commercial Unit on the survey and plot plan of any condominium
Milan
                                        within the Properties; the survey and plot plan are also still in draft form.
New Delhi
Sao Paulo
                                        However, Section 4 of this report entitiled “Description of the Proposed Project”
Shanghai                                provides further details on what we have assumed to comprise the commercial
Singapore                               units. The personal property allocation presented above represents the value
                                        attributable to the income that will be generated by the rental program
Superior results through unrivaled      agreements that we have assumed to be held by the ‘Resort Owner’ (identified as
hospitality intelligence. Everywhere.
                                        160 Royal Palm, LLC in the draft of the rental program agreement as presented in
                                        the addenda) relative to the 78 third-party owned condominium-hotel units that
                                        have been assumed to participate in the mandatory rental program.




                                                                                                                       HIG_000005
Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 5 of 33




            Furthermore, based on our analysis, it is our opinion that the prospective market
            values of the developer’s position in The Palm House condominium-hotel as of the
            assumed date of stabilization, May 1, 2018, will be as follows:

                                                                  May 1, 2018
                     Property Value Component Represented       'As Stabilized'   Allocation
                     Real Property                               $43,680,000        52.5%
                     Personal Property                            39,520,000        47.5%
                     Totals                                      $83,200,000       100.0%

            We have made an assumption of a hypothetical condition in our report, which
            assumes that 100.0% of the 78 units that are currently being renovated are sold
            and closed by May 1, 2015 and that 100.0% of this inventory will participate in the
            rental program. The analysis is also based on the extraordinary assumption that
            the described improvements have been completed as of the prospective "when
            complete" date of value, May 1, 2015. The reader should understand that the
            completed subject property does not yet, in fact, exist as of the date of appraisal.
            Our appraisal does not address unforeseeable events that could alter the
            repositioning project and/or the market conditions reflected in the analyses; we
            assume that no significant changes, other than those anticipated and explained in
            this report, will take place between the date of this report and the date of
            prospective value. The use of this extraordinary assumption may have affected the
            assignment results. Several important general assumptions have been made that
            apply to this appraisal and our valuations of hotels in general. These aspects are
            set forth in the Assumptions and Limiting Conditions chapter of this report.

            We hereby certify that we have no undisclosed interest in the property, and our
            employment and compensation are not contingent upon our findings. This study is
            subject to the comments made throughout this report and to all assumptions and
            limiting conditions set forth herein.

                              Sincerely,
                              CHR Consulting Services, Inc.




                              John P. Lancet, MAI
                              Director/Partner
                              jlancet@hvs.com, +1 (305) 378-0404 ext. 1014
                              State-certified general real estate appraiser RZ2554




                                                                                               HIG_000006
Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 6 of 33




       Palm House




          feet                                                           800
        meters                                                     200


                                                                               HIG_000007
                        Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 7 of 33


                                                                      EXECUTIVE SUMMARY
                                                                      Palm House Hotel Investment Memorandum



Palm House Residences & Hotel will be fully developed into a 78-key ultra luxury boutique hotel and will also
include a multi-level restaurant operated by Le Cirque, ample dedicated function space, a rejuvenating spa and
salon, a private pool courtyard with cabanas, and a rooftop terrace with views looking over Palm Beach and out to
the ocean. Select investors will be given the opportunity to purchase the 78 hotel units and have them
professionally managed by the hotel operator when the owner is not in residence.

The Property’s location in Palm Beach
benefits from having one of the highest
concentrations of wealth in the world,
making real estate ownership on the island
extremely attractive. Given the degree of
disposable income of Palm Beach residents
and visitors, the Property has the potential
to deliver significant additional income
from the Food & Beverage operations,
Spa, Salon, and Premiere Guest Services.
The Property is also ideally located on
Royal Palm Way, only half a block from
the ocean and less than five blocks from
Worth Avenue, which is one of the world’s
most recognized luxury retail areas.


                                                                                                      HIG_000008
                   Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 8 of 33




ARTIST RENDERING


                                                                                      L o bby L o u n g e & B a r
                                                                                              HIG_000009
Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 9 of 33


                                                                                       ARCHITECT
                                                                                                                                                    A
                                                                                          INC.
                                                                                                                                              AA26000964

                                                                                       RAFAEL A. RODRIGUEZ


                                                                                                                       44 COCONUT ROW
                                                                                                                            UNIT T-6
                                                                                                                     PALM BEACH, FLORIDA
                                                                                                                             33480
                                                                                                                      OFFICE : 561.659.3616
                                                                                                                        FAX: 561.659.3590



                                                                                      RARARCHITECT@BELLSOUTH.NET
                                                                                        WWW.RARARCHITECT.COM



                                                                                                                                                        SEAL




                                                                                     LICENSE NO. AR00166




                                                                                                                                  160 ROYAL PALM WAY, PALM BEACH , FL 33480
                                                                                          RENOVATIONS TO THE EXISITING BUILDING LOCATED AT.



                                                                                                                                                                        MATTHEWS HOSPITALITY GROUP
                                                                                      REVISION NO.



                                                                                       PROGESS SET 4.24.2014
                                                                                       -
                                                                                       -
                                                                                       -




                                                                                      DATE
                                                                                                                             6.12.2014
                                                                                      SCALE
                                                                                                                       AS NOTED
                                                                                      DRAWN BY
                                                                                                                MM
                                                                                      DRAWING NO.

                                                         Scale: 1/8"=1'-0"
                                                                                                                                              NA-2


                                                                             HIG_000010
Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 10 of 33


                                                                                            ARCHITECT
                                                                                                                                                      A
                                                                                               INC.
                                                                                                                                                AA26000964

                                                                                        RAFAEL A. RODRIGUEZ


                                                                                                                         44 COCONUT ROW
                                                                                                                              UNIT T-6
                                                                                                                       PALM BEACH, FLORIDA
                                                                                                                               33480
                                                                                                                        OFFICE : 561.659.3616
                                                                                                                          FAX: 561.659.3590



                                                                                       RARARCHITECT@BELLSOUTH.NET
                                                                                         WWW.RARARCHITECT.COM



                                                                                                                                                          SEAL




                                                                                      LICENSE NO. AR00166




                                                                                                                                    160 ROYAL PALM WAY, PALM BEACH , FL 33480
                                                                                            RENOVATIONS TO THE EXISITING BUILDING LOCATED AT.



                                                                                                                                                                          MATTHEWS HOSPITALITY GROUP
                                                                                       REVISION NO.

                                                                                        -

                                                                                        -
                                                                                        -
                                                                                        -
                                                                                        -




                                                                                       DATE
                                                                                                                               6.12.2014
                                                                                       SCALE
                                                                                                                         AS NOTED
                                                                                       DRAWN BY
                                                                                                                  MM
                                                                                       DRAWING NO.

                                                                                                                                                NA-3
                                                          Scale: 1/8"=1'-0"




                                                                              HIG_000011
Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 11 of 33


                                                                                     ARCHITECT
                                                                                                                                               A
                                                                                        INC.
                                                                                                                                         AA26000964

                                                                                 RAFAEL A. RODRIGUEZ


                                                                                                                  44 COCONUT ROW
                                                                                                                       UNIT T-6
                                                                                                                PALM BEACH, FLORIDA
                                                                                                                        33480
                                                                                                                 OFFICE : 561.659.3616
                                                                                                                   FAX: 561.659.3590



                                                                                RARARCHITECT@BELLSOUTH.NET
                                                                                  WWW.RARARCHITECT.COM



                                                                                                                                                   SEAL




                                                                               LICENSE NO. AR00166




                                                                                                                             160 ROYAL PALM WAY, PALM BEACH , FL 33480
                                                                                     RENOVATIONS TO THE EXISITING BUILDING LOCATED AT.



                                                                                                                                                                   MATTHEWS HOSPITALITY GROUP
                                                                                REVISION NO.

                                                                                 PROGRESS SET

                                                                                 -
                                                                                 -
                                                                                 -
                                                                                 -




                                                                                DATE
                                                                                                                        6.12.2014
                                                                                SCALE
                                                                                                                  AS NOTED
                                                                                DRAWN BY
                                                                                                           MM
                                                                                DRAWING NO.


                                                   Scale: 1/8"=1'-0"
                                                                                                                                         NA-4


                                                                       HIG_000012
                      Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 12 of 33


                                                                     EXECUTIVE SUMMARY
                                                                     Palm House Hotel Investment Memorandum


The Palm House Residences & Hotel feature interiors by
world-renowned hospitality design firm Hirsch Bedner
Associates (HBA) who specialize in creating innovative,
comfortable spaces, infused with the utmost in luxury. The
designs for The Palm House were naturally inspired by the
rich history of the island of Palm Beach interpreted through
clean and contemporary lines throughout the property.

The marketing and sales of the residences will be performed
by a professional brokerage firm with national and
international reach – Venegas International Group. Sales
of $235 million are projected to be achieved.




                                                                                                 HIG_000013
Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 13 of 33




      PALM HOUSE PRICE GRID
                            1ST FLOOR
Unit      Type      SQFT       Price       $/SQFT Lock Out Exposure
101      Studio      476    $2,150,000     $4,517             SE
102      Studio      486    $1,950,000     $4,012             NE
103      1 Bed       693    $3,575,000     $5,159             SE
104      Studio      486    $1,950,000     $4,012             NE
105      1 Bed       767    $3,700,000     $4,824             SE
106      Studio      486    $1,950,000     $4,012             NE
107      Studio      486    $2,150,000     $4,424             SE
108      Studio      486    $1,950,000     $4,012             NE
109      Studio      486    $2,150,000     $4,424             SE
110      2 Bed       975    $4,800,000     $4,923             NE
111      1 Bed       847    $4,400,000     $5,195             SE
112      2 Bed       965    $4,800,000     $4,974             NE
121      Studio      414    $2,150,000     $5,193              E
122      Studio      381    $1,600,000     $4,199             W
123      1 Bed       797    $4,350,000     $5,458              E
124 ADA Studio       374    $1,650,000     $4,412   126       W
125      Studio      399    $2,150,000     $5,388              E
126      Studio      374    $1,750,000     $4,679   124       W
127      Studio      399    $2,150,000     $5,388              E
128      Studio      374    $1,750,000     $4,679   130       W
129      1 Bed       797    $4,350,000     $5,458              E
130      Studio      374    $1,750,000     $4,679   128       W
132      Studio      374    $1,700,000     $4,545             W
134      1 Bed       748    $3,600,000     $4,813             W
136      Studio      374    $1,700,000     $4,545             W
138      Studio      374    $1,700,000     $4,545             W
   Total/Avg        14,192 $67,875,000     $4,783

                                                                      HIG_000014
Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 14 of 33




      PALM HOUSE PRICE GRID
                           2ND FLOOR
Unit      Type      SQFT       Price       $/SQFT Lock Out Exposure
201      1 Bed       578    $2,950,000     $5,104             NE
202      1 Bed       591    $2,400,000     $4,061             SE
203      Studio      486    $2,400,000     $4,938             SE
204      Studio      486    $2,450,000     $5,041             NE
205      1 Bed       731    $3,800,000     $5,198             SE
206      Studio      486    $2,450,000     $5,041             NE
207      1 Bed       728    $3,720,000     $5,110             SE
208      Studio      486    $2,450,000     $5,041             NE
209      1 Bed       973    $4,900,000     $5,036             SE
210      Studio      486    $2,450,000     $5,041             NE
211      1 Bed       840    $4,600,000     $5,476             SE
212      Studio      486    $2,450,000     $5,041             NE
214      2 Bed       965    $4,900,000     $5,078             NE
221      1 Bed       810    $4,150,000     $5,123              E
222 ADA Studio       381    $1,750,000     $4,593             W
223      1 Bed       797    $4,450,000     $5,583              E
224 ADA Studio       374    $1,800,000     $4,813   226       W
225      Studio      406    $2,300,000     $5,665              E
226      Studio      374    $2,100,000     $5,615   224       W
227      Studio      404    $2,300,000     $5,693              E
228      Studio      374    $2,100,000     $5,615   230       W
229      1 Bed       793    $4,450,000     $5,612              E
230      Studio      374    $2,100,000     $5,615   228       W
232      Studio      374    $2,000,000     $5,348             W
234      1 Bed       748    $3,800,000     $5,080             W
236      Studio      374    $2,000,000     $5,348             W
238      Studio      381    $2,000,000     $5,249             W
   Total/Avg        15,286 $79,220,000     $5,183

                                                                      HIG_000015
     Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 15 of 33




           PALM HOUSE PRICE GRID
                                   3RD FLOOR
   Unit        Type        SQFT        Price        $/SQFT      Lock Out Exposure
PH 301/303    2 Bed        2,390   $14,900,000      $6,234                  SE
PH 305/307    3 Bed        2,779   $19,000,000      $6,837                  SE
    302       1 Bed         711     $3,900,000      $5,485                  NE
    304       1 Bed         842     $4,600,000      $5,463                  NE
    306       1 Bed         841     $4,650,000      $5,529                  NE
    321       1 Bed         802     $4,500,000      $5,611                   E
    322       Studio        381     $2,250,000      $5,906                  W
    323       1 Bed         797     $4,500,000      $5,646                   E
    324       Studio        374     $2,300,000      $6,150        326       W
    325       1 Bed         816     $4,600,000      $5,637                   E
    326       Studio        374     $2,300,000      $6,150        324       W
    327       1 Bed         799     $4,550,000      $5,695                   E
    328       Studio        374     $2,300,000      $6,150        330       W
    330       Studio        374     $2,300,000      $6,150        328       W
    332       Studio        374     $2,250,000      $6,016                  W
    334       1 Bed         748     $4,000,000      $5,348                  W
    336       Studio        374     $2,250,000      $6,016                  W
    338       Studio        381     $2,250,000      $5,906                  W
      Total/Avg           14,531   $87,400,000      $6,015


     Grand Total:         SQFT      Dollar Value   Avg $/SQFT
              1st Floor   14,192    $67,875,000      $4,783
             2nd Floor    15,286    $79,220,000      $5,183
              3rd Floor   14,531    $87,400,000      $6,015
               Total      44,009   $234,495,000      $5,328


                                                                                    HIG_000016
                   Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 16 of 33




ARTIST RENDERING


                                                                                             LO B B Y
                                                                                       HIG_000017
                        Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 17 of 33


                                                                       EXECUTIVE SUMMARY
                                                                       Palm House Hotel Investment Memorandum


Exceptional management of The Palm House
Residences & Hotel is assured with the distinguished
leadership of CampbellGray Hotels who specialize in
creating and operating highly individual hotels. Its goal
has always been to achieve the very highest standards,
become the market leader in its destinations, and achieve
commercial success. Gordon Campbell Gray is
personally involved in every aspect of the creation,
philosophy and concept of each hotel. A significant
differentiator of the company is that it has built up, over
the years, a very close relationship with the world’s
press. The editors of most of the world’s leading
publications are known personally to Gordon Campbell
Gray and his team, and they are always extremely keen
to cover all aspects of the company’s activities.
CampbellGray Hotels are members of Leading Hotels of
the World and have built up an extensive global guest
database and history with its strong repeat clientele.




                                                                                                   HIG_000018
             Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 18 of 33




 Palm House Condo Hotel - Palm Beach, Florida
 Proforma Income Statements
 Assumptions / Inputs                      Year                                 Year                Year                Year                Year
                                                              1                   2                   3                   4                   5
                                                Basis

Room Revenue Drivers
  Number of Total Keys                           78

  Total Available Room Nights                    365              28,470               28,470              28,470              28,470              28,470

  Condo Hotel Projected Occupancy % PH 1                           63.0%                67.0%               71.0%               75.0%               78.0%

  Total Projected Occupied Room Niights (ORN)                     17,936               19,075              20,214              21,353              22,207

    Total Projected Occupancy %                                    63.0%                67.0%               71.0%               75.0%               78.0%

  Condo Hotel Projected Average Daily Rate PH 1           $       735.00 $             775.43 $            818.07 $            858.98 $            893.34

  Total Projected Room Revenue                            $   13,183,034 $       14,791,154 $        16,536,290 $        18,341,307 $        19,837,958

    Total Projected Average Daily Rate (ADR)              $       735.00 $             775.43 $            818.07 $            858.98 $            893.34

    Total Proj.Revenue Per Available Room (RevPAR)                $463.05          $519.53             $580.83             $644.23             $696.80
    Projected Total RevPAR Growth                                      NA           12.20%              11.80%              10.92%               8.16%


Revenue
  Rooms                        ADR       Annual % Chg                 NA                5.50%               5.50%               5.00%               4.00%
  Food & Beverage                        LC projection    $       500.00 $             525.00 $            535.00 $            545.00 $            550.00
  Spa / Salon / Fitness Center               POR          $       100.00 $             105.50 $            111.30 $            116.87 $            121.54
  Other Income (Retail,Telcom,Rental)        POR          $        40.00 $              42.20 $             44.52 $             46.75 $             48.62

Departmental Expenses
  Rooms                                       POR         $        75.00 $              76.88 $             78.80 $             80.77 $             82.79
  Food & Beverage                        LC projection              82%                  77%                 76%                 75%                 75%
  Spa / Salon / Fitness Center           % of Spa Rev               65%                  63%                 61%                 64%                 66%
  Other Income (Retail,Telcom,Rental)    % of Other Inc             50%                  47%                 45%                 44%                 43%

Undistributed Operating Expenses
  Administration & General                      PAR       $        35.00    $           36.58   $           38.22   $           39.94   $           41.74
  Sales & Marketing                             PAR       $        25.00    $           26.13   $           27.30   $           28.53   $           29.81
  Energy Costs / Utilities                      POR       $        20.00    $           20.90   $           21.84   $           22.82   $           23.85
  Maintenance                                   PAR       $        20.00    $           20.90   $           21.84   $           22.82   $           23.85

Management Fee & Condo Owners Net Rev Share
 Base & Incentive Management Fees % of Total Rev                   3.00%              3.00%               3.00%               3.00%               3.00%
 Condo Owners Net Revenue Share 30% of Condo Rev          $    3,954,910 $        4,437,346 $         4,960,887 $         5,502,392 $         5,951,387

Other Deductions
  Property Tax Exp                            PAR         $         3.00 $               3.12 $              3.24 $              3.37 $              3.51
  Insurance Exp                               PAR         $         4.00 $               4.20 $              4.41 $              4.63 $              4.86
  Reserve for Replacement                % of Total Rev            2.50%                2.50%               2.50%               2.50%               2.50%


  Condo Owner Net Revenue Share per unit                  $       50,704 $             56,889 $            63,601 $            70,543 $            76,300
  Condo Units Participating in Rental Program                         78                   78                  78                  78                  78




                                                                                                                                  HIG_000019
             Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 19 of 33



Palm House Condo Hotel - Palm Beach, Florida
Proforma Income Statements
                                                         Year           Year           Year           Year           Year
             78 Keys (Rooms)      Phase 1                  1              2              3              4              5


Operating Statistics
Available Room Nights (ARN)                                 28,470         28,470         28,470         28,470         28,470
Occupied Room Nights (ORN)                                  17,936         19,075         20,214         21,353         22,207
Occupancy %                                                  63.0%          67.0%          71.0%          75.0%          78.0%
Average Daily Rate (ADR)                                   $735.00        $775.43        $818.07        $858.98        $893.34
Revenue Per Available Room (RevPAR)                        $463.05        $519.53        $580.83        $644.23        $696.80
RevPAR Growth                                                   NA         12.20%         11.80%         10.92%          8.16%


Revenue
Rooms                                                $   13,183,034 $   14,791,154 $   16,536,290 $   18,341,307 $   19,837,958
Food & Beverage                                           8,968,050     10,014,323     10,814,330     11,637,113     12,213,630
Spa / Salon / Fitness Center                              1,793,610      2,012,402      2,249,835      2,495,416      2,699,042
Other Income (Retail, Telcom, Event Space Rental )          717,444        804,961        899,934        998,166      1,079,617
 Total Revenue                                           24,662,138     27,622,840     30,500,389     33,472,002     35,830,247
 Total Revenue Growth                                            NA         12.01%         10.42%          9.74%          7.05%

Departmental Expenses
Rooms                                                     1,345,208      1,466,383      1,592,776      1,724,573      1,838,395
Food & Beverage                                           7,389,673      7,751,086      8,181,040      8,704,560      9,135,795
Spa / Salon / Fitness Center                              1,165,847      1,267,813      1,372,400      1,597,066      1,781,368
Other Income (Retail, Telcom, Event Space Rental )          358,722        378,332        404,970        439,193        464,235
 Total Departmental Expenses                             10,259,449     10,863,613     11,551,187     12,465,393     13,219,793
 Departmental Expense Ratio                                     42%            39%            38%            37%            37%

Undistributed Operating Expenses
Administration & General                                    996,450      1,041,290      1,088,148      1,137,115      1,188,285
Sales & Marketing                                           711,750        743,779        777,249        812,225        848,775
Energy Costs / Utilities                                    358,722        398,665        441,477        487,335        529,636
Maintenance                                                 569,400        595,023        621,799        649,780        679,020
 Total Undistributed Operating Expenses                   2,636,322      2,778,757      2,928,673      3,086,455      3,245,716
 Total Undistributed Operating Expenses Growth                   NA          5.40%          5.40%          5.39%          5.16%

Gross Operating Profit                                   11,766,366     13,980,469     16,020,529     17,920,155     19,364,738
 Gross Operating Profit Margin                                  48%            51%            53%            54%            54%

Management Fee & Condo Owner Net Revenue Share
Base & Incentive Management Fees                            739,864        828,685        915,012      1,004,160      1,074,907
Condo Owner Net Revenue Share                             3,954,910      4,437,346      4,960,887      5,502,392      5,951,387
Total Management Fees & Condo Owner Share                 4,694,774      5,266,031      5,875,899      6,506,552      7,026,295
 Total Management Fees Growth                                    NA         12.17%         11.58%         10.73%          7.99%

Other Deductions
Property Taxes                                              85,410         88,826         92,379         96,075         99,918
Insurance Expense                                          113,880        119,574        125,553        131,830        138,422
 Total Other Deductions                                    199,290        208,400        217,932        227,905        238,339
 Total Other Deductions Growth                                  NA          4.57%          4.57%          4.58%          4.58%

Net Operating Profit                                      6,872,302      8,506,037      9,926,698     11,185,697     12,100,103
 Net Operating Profit Margin                                    28%            31%            33%            33%            34%

Reserve for Replacement                                    616,553        690,571        762,510        836,800        895,756

Projected EBITDA / NOI                               $    6,255,749 $    7,815,466 $    9,164,188 $   10,348,897 $   11,204,347
 Proj. EBITDA / Net Operating Income Margin                     25%            28%            30%            31%            31%



                                                                                                               HIG_000020
                   Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 20 of 33




ARTIST RENDERING


                                                                                          THE HOTEL
                                                                                       HIG_000021
                   Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 21 of 33




ARTIST RENDERING


                                                                                          THE POOL
                                                                                       HIG_000022
                   Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 22 of 33




ARTIST RENDERING


                                                                                       Presidential Suite – living room
                                                                                                         HIG_000023
                   Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 23 of 33




ARTIST RENDERING


                                                                                       Presidential Suite – Bedroom
                                                                                                     HIG_000024
                   Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 24 of 33




ARTIST RENDERING


                                                                                       P r e s i d e n t i a l S u i t e – B at h r o o m
                                                                                                                  HIG_000025
                   Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 25 of 33




ARTIST RENDERING


                                                                                          B ALLROOM
                                                                                       HIG_000026
                         Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 26 of 33


                                                                        EXECUTIVE SUMMARY
                                                                        Palm House Hotel Investment Memorandum



Le Cirque has offered an unparalleled dining experience
earning its place on New York’s gastronomical landscape
since 1974. Famed restaurateur Sirio Maccioni and family
welcome you to enjoy a modern dining room, where the
food is just as exciting to the palate as it is a feast to the
eyes.

One of Manhattan’s most celebrated restaurateurs, Sirio
Maccioni has wined and dined high society in New York
for nearly half a century. Along the way, he has helped
launch the careers of many illustrious chefs and
befriended a host of celebrities in the arts, politics,
business and fashion. Maccioni’s boundless passion and
energy for life has been the driving force behind the
success of Le Cirque and the Maccioni family’s ever-
expanding global restaurant group which will now include
an outpost at The Palm House Residences & Hotel.




                                                                                                    HIG_000027
                   Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 27 of 33




ARTIST RENDERING


                                                                                       LE CIR Q UE B RASSERIE
                                                                                             HIG_000028
                   Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 28 of 33




ARTIST RENDERING


                                                                                       VU ROO F TOP B AR
                                                                                         HIG_000029
                        Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 29 of 33


                                                                       EXECUTIVE SUMMARY
                                                                       Palm House Hotel Investment Memorandum




Premiere Guest Services at Palm House will include the finest
amenities and superior service delivered by its world-class staff to
Palm House guests who will include some of the most prominent
figures in civic, commercial, and financial life. Guests will gather
to socialize and be entertained surrounded by a collection of
fanciful things gathered from around the globe.

Some of the facilities being made available to guests include a
private screening room, billiard, card, and game rooms, a cigar
bar with humidor and climate controlled wine cellar, a business
center and access to function rooms for private business
meetings or grand gala parties in the ballroom, a private dining
room, bar and lounge, a library, and a bowling parlor. Guests
will also have preferred access to the hotel’s European spa, health
club, and salon. The Palm House will own a Rolls Royce Ghost,
and Alibi - a 151 foot Delta yacht, which guests will have
preferred access to, and the Sponsor has also made arrangements
for priority use of a Hawker Jet 850 XP for its Premiere Guests.




                                                                                                   HIG_000030
                   Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 30 of 33




ARTIST RENDERING


                                                                                       C l u b ALI B I E n t r y w ay


                                                                                                   HIG_000031
                   Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 31 of 33




ARTIST RENDERING


                                                                                       CLU B a l i b i l o u n g e


                                                                                              HIG_000032
                   Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 32 of 33




ARTIST RENDERING


                                                                                       c l u b ALI B I s c r e e n i n g r o o m

                                                                                                            HIG_000033
                   Case 3:18-cr-00048-VAB Document 74-5 Filed 12/21/18 Page 33 of 33




ARTIST RENDERING


                                                                                       C l u b ALI B I B i l l i a r d s HALL


                                                                                                           HIG_000034
